           Case 23-56271-bem                               Doc 1       Filed 07/03/23 Entered 07/03/23 13:04:45                                 Desc
                                                                      Petition Page 1 of 24
                                                                                                                          IN CLERK'S
                                                                                                                   U.S. BANKRUPTCY OFFICE
                                                                                                                                     COURT
 Fill in this information to identify the case:                                                                      NORTNERII DISTRICT
                                                                                                                         OF GLOP.G1A
 United States Bankruptcy Court for the:
                                                                                                                2023 JUL -3 PM 1: 05
           Northern         District of     Georgia
                                          (State)
                                                                                                                         VANIA S. ALLEN,
 Case number (If known)•                                            Chapter    7                                         ,CLERK       LI Check if this is an
                                                                                                                                                          filing


                                                                               71                                         WTI

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                   06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1. Debtor's name                                          6- Sigma Consulting LLC



 2. All other names debtor used                      n/a
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer                                   -                  2 4     1 5
    Identification Number (EIN)



 4. Debtor's address                            Principal place of business                                       Mailing address, if different from principal place
                                                                                                                  of business

                                                     466 Thackeray PlacP SW                                        478 Thackerav Place SW
                                                Number              Street                                        Number       Street


                                                                                                                  P.O. Box

                                                     Atlanta                          GA         30311             Atlanta               GA       30311
                                                    City                              State      ZIP Code         City                        State       ZIP Code

                                                                                                                  Location of principal assets, if different from
                                                                                                                  principal place of business
                                                     Fulton
                                                    County
                                                                                                                  Number       Street




                                                                                                                  City                        State       ZIP Code




 5. Debtor's website (URL)




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
            Case 23-56271-bem                Doc 1        Filed 07/03/23 Entered 07/03/23 13:04:45                                    Desc
                                                         Petition Page 2 of 24

Debtor         6-Sigma Consulting LLC                                                          Case number (if known)
             Name




                                         0 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                         CI Partnership (excluding     LLP)
                                         0 Other. Specify:

                                         A. Check one:
 7. Describe debtor's business
                                         0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         LA Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         0 Railroad (as defined in 11 U.S.C. § 101(44))
                                         0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         0 None of the above

                                         B.Check all that apply:

                                         0 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            htto://www.uscourts.eovffour-dieit-national-association-naics-codes .
                                             5    3      1      3

 8. Under which chapter of the           Check one:
    Bankruptcy Code is the
    debtor filing?
                                         a'Chapter 7
                                         0 Chapter 9
                                         CI Chapter 11. Check a// that apply:
     A debtor who is a "small business
     debtor" must check the first sub-                       41 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     box. A debtor as defined in                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                            affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                           recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a                            income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor") must                              11 U.S.C. § 1116(1)(B).
     check the second sub-box.                               O The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).

                                                             O A plan is being filed with this petition.

                                                             O Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             O The debtor is required to file periodic reports (for example, 10K and 100) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             O The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                            Chapter 12




  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
            Case 23-56271-bem               Doc 1        Filed 07/03/23 Entered 07/03/23 13:04:45                                            Desc
                                                        Petition Page 3 of 24

                6-Sigma Consulting LLC
Debtor                                                                                      Case number (if known)
              Name



 9. Were prior bankruptcy cases           No
     filed by or against the debtor
     within the last 8 years?          0 Yes.    District                            When                            Case number
                                                                                             MM/ DD / YYYY
     If more than 2 cases, attach a
                                                 District                            When                            Case number
     separate list.
                                                                                             MM/ DD / YYYY

 io. Are any bankruptcy cases          41 No
     pending or being filed by a
     business partner or an            0 Yes.    Debtor                                                              Relationship
     affiliate of the debtor?                    District                                                            When
                                                                                                                                    MM / DD      /YYYY
     List all cases. If more than 1,
     attach a separate list.                     Case number, if known


 11. Why is the case filed in this     Check all that apply:
     district?
                                       la Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have       ill No
     possession of any real            D Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                D   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?

                                                O It needs to be physically secured or protected from the weather.

                                                U It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                  assets or other options).

                                                U Other



                                                Where is the property?
                                                                           Number           Street



                                                                           City                                                     State ZIP Code


                                                Is the property insured?

                                                LI No
                                                O Yes. Insurance agency

                                                            Contact name

                                                            Phone




             Statistical and administrative information




  Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 3
            Case 23-56271-bem                 Doc 1         Filed 07/03/23 Entered 07/03/23 13:04:45                                         Desc
                                                           Petition Page 4 of 24

Debtor         6-Sigma Consulting LLC                                                           Case number (if known)
             Name




 13.Debtor's estimation of               Check one:
    available funds                          Funds will be available for distribution to unsecured creditors.
                                         0   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         0   1-49                           U 1,000-5,000                                  D 25,001-50,000
 14.Estimated number of                  0 50-99                            U 5,001-10,000                                      50,001-100,000
    creditors
                                         LI 100-199                         0 10,001-25,000                                LI More than 100,000
                                         LI 200-999

                                             $0-$50,000                         $1,000,001-$10 million                          $500,000,001-$1 billion
 15.Estimated assets                         $50,001-$100,000                   $10,000,001-$50 million                         $1,000,000,001-$10 billion
                                             $100,001-$500,000                  $50,000,001-$100 million                   0    510,000,000,001-550 billion
                                             $500,001-$1 million                $100,000,001-$500 million                  CI   More than $50 billion


                                             $0-$50,000                         $1,000,001-$10 million                          $500,000,001-$1 billion
 16.Estimated liabilities                    $50,001-$100,000                   $10,000,001-$50 million                    D $1,000,000,001-$10 billion
                                             $100,001-$500,000                  $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                             $500,001-$1 million            U $100,000,001-$500 million                    D More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on     06/28/2023
                                                           MM / DD /YYYY

                                          X Fritd&ritk Rtacar,lr                                             Frederick L. Rucker, Jr.
                                             Signature of authorized representative of debtor               Printed name

                                             Title   Mgr- 6-Sigma Consulting LLC




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
            Case 23-56271-bem            Doc 1          Filed 07/03/23 Entered 07/03/23 13:04:45                                     Desc
                                                       Petition Page 5 of 24

Debtor         6-Sigma Consulting LLC                                                 Case number (if known)
              Name




 18.   Signature of attorney
                                                                                                 Date
                                        Signature of attorney for debtor                                       MM      / DD / YYYY




                                        Printed name


                                        Firm name


                                        Number         Street


                                        City                                                           State            ZIP Code


                                        Contact phone                                                  Email address




                                        Bar number                                                     State




  Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 5
               Case 23-56271-bem                       Doc 1    Filed 07/03/23 Entered 07/03/23 13:04:45                             Desc
                                                               Petition Page 6 of 24
  Fill in this information to identify the case:


  Debtor name      6-Sigma Consulting LLC


  United States Bankruptcy Court for the:               Northern      District of Georgia
                                                                                  (State)
  Case number (If known):                                                                                                             Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets                                            Real and Personal Property                                                       12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 2066).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:      Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   21 No. Go to Part 2.
   U       Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                              Current value of debtor's
                                                                                                                                 interest

2. Cash on hand

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                    Type of account             Last 4 digits of account number
   3.1.
   3.2.


4. Other cash equivalents (Identify all)
   4,1.

   4.2.

5. Total of Part 1
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:      Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   U       Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
    7.1.
    7.2.



   Official Form 206A/B                                        Schedule A/B: Assets—Real and Personal Property                               page 1
                Case 23-56271-bem                    Doc 1    Filed 07/03/23 Entered 07/03/23 13:04:45                                Desc
                                                             Petition Page 7 of 24
Debtor
                      6-Sigma Consulting LLC                                                     Case number (if known)
                  Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.
   8.2

9. Total of Part 2.
   Add lines 7 through 8. Copy the total to line 81.



Part 3:       Accounts receivable

10. Does the debtor have any accounts receivable?

     41 No. Go to Part 4.
    El Yes. Fill in the information below.
                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

11. Accounts receivable

    11a.90 days old or less:                                                                                 4
                                   face amount                   doubtful or uncollectible accounts

    11b.Over 90 days old:                                                                                    4
                                   face amount                   doubtful or uncollectible accounts


12. Total of Part 3
    Current value on lines 11a+ 11b= line 12. Copy the total to line 82.


Part 4:       Investments

13. Does the debtor own any investments?
            No. Go to Part 5.
     CI Yes. Fill in the information below.
                                                                                                         Valuation method         Current value of debtor's
                                                                                                         used for current value   interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1.
    14.2.




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                % of ownership:
    15.1.
    15.2.


16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:
    16.1.
    16.2.




17. Total of Part 4
     Add lines 14 through 16. Copy the total to line 83.



 Official Form 206A/B                                      Schedule AM: Assets—Real and Personal Property                                     page 2
                Case 23-56271-bem                Doc 1       Filed 07/03/23 Entered 07/03/23 13:04:45                       Desc
                                                            Petition Page 8 of 24
Debtor
                   6-Sigma Consulting LLC                                                Case number (if known)
                 Name




Part 5:     Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    O No. Go to Part 6.
    O Yes. Fill in the information below.

     General description                            Date of the last     Net book value of     Valuation method used    Current value of
                                                    physical inventory   debtor's interest     for current value        debtor's interest
                                                                         (Where available)
19. Raw materials

                                                    MM / DD /YYYY

20. Work in progress

                                                    MM / DD YYYY

21. Finished goods, including goods held for resale

                                                    MM / DD / YYYY

22. Other inventory or supplies

                                                    MM / DD /YYYY



23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    LI No
    O      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    O      No
    CI     Yes. Book value                        Valuation method                       Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    O No
    CI     Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    O No. Go to Part 7.
    CI Yes. Fill in the information below.
         General description                                             Net book value of      Valuation method used   Current value of debtor's
                                                                         debtor's interest      for current value       interest
                                                                         (Where available)
28. Crops—either planted or harvested


29. Farm animals Examples: Livestock, poultry, farm-raised fish



30. Farm machinery and equipment (Other than titled motor vehicles)



31. Farm and fishing supplies, chemicals, and feed



32. Other farming and fishing-related property not already listed in Part 6



 Official Form 206A/B                                      Schedule A/B: Assets—Real and Personal Property                          page 3
                Case 23-56271-bem                 Doc 1       Filed 07/03/23 Entered 07/03/23 13:04:45                               Desc
                                                             Petition Page 9 of 24
Debtor                6-Sigma Consulting LLC                                                  Case number (if known)
                 Name




33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
    O No
    O Yes. Is any of the debtor's property stored at the cooperative?
           U    No
           O    Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
    O No
    O Yes. Book value $                      Valuation method                         Current value $

36. Is a depreciation schedule available for any of the property listed in Part 6?
    U No
    O Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
    El No
    U Yes


Part 7:        Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    •      No. Go to Part 8.
    CI Yes. Fill in the information below.

   General description                                                        Net book value of         Valuation method         Current value of debtor's
                                                                              debtor's interest         used for current value   interest
                                                                              (Where available)

39. Office furniture



40. Office fixtures



41. Office equipment, including all computer equipment and
    communication systems equipment and software


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
    42.1
    42.2
    42.3

43. Total of Part 7.
     Add lines 39 through 42. Copy the total to line 86.
44. Is a depreciation schedule available for any of the property listed in Part 7?

     El No
     O Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     •     No
     O Yes


 Official Form 206A/B                                       Schedule A/B: Assets—Real and Personal Property                                  page 4
             Case 23-56271-bem                   Doc 1      Filed 07/03/23 Entered 07/03/23 13:04:45                            Desc
                                                          Petition Page 10 of 24
                       6-Sigma Consulting LLC                                              Case number (if known)
Debtor
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    Ul No. Go to Part 9.
    U Yes. Fill in the information below.

   General description                                                     Net book value of        Valuation method used   Current value of
                                                                           debtor's interest        for current value       debtor's interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


   47.1                                                                     $                                               $

   47.2                                                                     $                                               $

   47.3                                                                     $                                               $

   47.4                                                                     $                                               $


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1

   48.2


49. Aircraft and accessories

   49.1

   49.2

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)




51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
    El No
    U     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    1:1 No
    LI    Yes




 Official Form 206A/B                                     Schedule NB: Assets—Real and Personal Property                               page 5
                Case 23-56271-bem                 Doc 1       Filed 07/03/23 Entered 07/03/23 13:04:45                                 Desc
                                                            Petition Page 11 of 24
Debtor
                   6-Sigma Consulting LLC                                                        Case number (if known)
                 Name




Part 9:     Real property

54. Does the debtor own or lease any real property?
    •     No. Go to Part 10.
          Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

                                                         Nature and extent      Net book value of         Valuation method used     Current value of
    Description and location of property
    Include street address or other description such as  of debtor's interest   debtor's interest         for current value         debtor's interest
    Assessor Parcel Number (APN), and type of property in property              (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1 466 Thackeray Place SW Atlanta, GA 30311             100%                 $355,000.00              Residential Appraisal   $ $355,000.00

    55.2

    55.3

    55.4

    55.5

    55.6

56. Total of Part 9.
                                                                                                                                    $ $355,000.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    ca     No
    •      Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    E:1 No
    ia     Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    i4 No. Go to Part 11.
    CI Yes. Fill in the information below.
        General description                                                     Net book value of         Valuation method           Current value of
                                                                                debtor's interest         used for current value     debtor's interest
                                                                                (Where available)
60. Patents, copyrights, trademarks, and trade secrets


61. Internet domain names and websites


62. Licenses, franchises, and royalties


63. Customer lists, mailing lists, or other compilations


64. Other intangibles, or intellectual property

65. Goodwill



66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                       Schedule NB: Assets— Real and Personal Property                                     page 6
                 Case 23-56271-bem                       Doc 1     Filed 07/03/23 Entered 07/03/23 13:04:45                            Desc
                                                                 Petition Page 12 of 24
 Debtor
                      6-Sigma Consulting LLC                                                    Case number (if known)
                  Name




 67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     LI     No
     O      Yes
 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     O      No
     CI     Yes
 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     U      No
     CI     Yes

1:111         All other assets

 70. Does the debtor own any other assets that have not yet been reported on this form?
     Include all interests in executory contracts and unexpired leases not previously reported on this form.
      C2I   No. Go to Part 12.
      1:1 Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor's interest
 71. Notes receivable
     Description (include name of obligor)
                                                                                                                               4   s
                                                                        Total face amount   doubtful or uncollectible amount

 72. Tax refunds and unused net operating losses (NOLs)

      Description (for example, federal, state, local)

                                                                                                           Tax year
                                                                                                           Tax year
                                                                                                           Tax year

 73. Interests in insurance policies or annuities



 74. Causes of action against third parties (whether or not a lawsuit
     has been filed)


      Nature of claim
      Amount requested

 75. Other contingent and unliquidated claims or causes of action of
     every nature, including counterclaims of the debtor and rights to
     set off claims



      Nature of claim
      Amount requested

 76. Trusts, equitable or future interests in property



 77. Other property of any kind not already listed Examples: Season tickets,
     country club membership




 78. Total of Part 11.
      Add lines 71 through 77. Copy the total to line 90.

 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
      CI    Yes

  Official Form 206A/B                                           Schedule NB: Assets—Real and Personal Property                               page 7
             Case 23-56271-bem                   Doc 1      Filed 07/03/23 Entered 07/03/23 13:04:45                                        Desc
                                                          Petition Page 13 of 24
Debtor          6-Sigma Consulting LLC                                                      Case number (if known)
              Name




Part 12:     Summary



In Part 12 copy all of the totals from the earlier parts of the form.


      Type of property                                                         Current value of                      Current value
                                                                               personal property                     of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.


81. Deposits and prepayments. Copy line 9, Part 2.


82. Accounts receivable. Copy line 12, Part 3.

83. Investments. Copy line 17, Part 4.

 84. Inventory. Copy line 23, Part 5.

 85. Farming and fishing-related assets. Copy line 33, Part 6.

 86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

 88. Real property. Copy line 56, Part 9.                                                      4                 $ $355.000 0(

 89. Intangibles and intellectual property. Copy line 66, Part 10.

 90. All other assets. Copy line 78, Part 11.                                    $


 91. Total. Add lines 80 through 90 for each column.                    sla.                              91b.F -                       1




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.                                                                           $$355,000.01




 Official Form 206A/B                                     Schedule A/B: Assets—Real and Personal Property                                           page 8
                  Case 23-56271-bem                         Doc 1           Filed 07/03/23 Entered 07/03/23 13:04:45                                     Desc
                                                                          Petition Page 14 of 24
  Fill in this information to identify the case:

  Debtor name         6-Sigma Consulting LLC
  United States Bankruptcy Court for the:         Northern                      District of    Georaie
                                                                                              (State)
  Case number (If known).                                                                                                                            CI Check if this is an
                                                                                                                                                          amended filing
  Official Form 206D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15

  Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor's property?
      0    No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      a    Yes. Fill in all of the information below.

 Part 1:         List Creditors Who Have Secured Claims
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
                                                                                                                               Amount of claim           Value of collateral
    secured claim, list the creditor separately for each claim.
                                                                                                                               Do not deduct the value   that supports this
                                                                                                                               of collateral.            claim
Em Creditor's name                                              Describe debtor's property that is subject to a lien
      Brothers Carpentry & Painting LLC                          466 Thackeray Place SW                                            45,000
                                                                                                                                                         $ 355,000.00
      Creditor's mailing address                                 Atlanta GA 30311
      6242 Boyett Drive
      Norcross, GA 30093
                                                                Describe the Jien
                                                                     mechanics
      Creditor's email address, if known                        Is the creditor an insider or related party?
      mercedgutierrezAbellsouth.net                             O No
                                                                O Yes

      Date debt was incurred          11/04/2019                Is anyone else liable on this claim?
                                                                 0 No
      Last 4 digits of account
                                      2    0 7 4                 O Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      number
      Do multiple creditors have an interest in the             As of the petition filing date, the claim is:
      same property?                                            Check all that apply.
      Li No                                                      CI      Contingent
      ZI Yes. Specify each creditor, including this creditor,    •       Unliquidated
              and its relative priority.                             4   Disputed
                   3rd priority, 0.C.G.A. 43-41-17
                   unlicensed GC claim
Fza   Creditor's name                                           Describe debtor's property that is subject to a lien
                                                                                                                                  227,000.00                355,000.00
       -CMc-Real-Estate-Holdiags                                     466 Thackeray Place SW
        Civic Financial Services, LLC                                Atlanta GA 30311
      Creditor's mailing address
          Fay Servicing LLC, Attn: Pymt Processing
          1601 LBJ Freeway Suite 150          Describe the lien
          Farmers Branch, TX 75234              First mortgage
      Creditor's email address, if known                        Is the creditor an insider or related party?
          jacob.zahn@civicfs.com                                         No
                                                                 •       Yes

      Date debt was incurred          01/22/2022                 Is anyone else liable on this claim?
                                                                 O No
      Last 4 digits of account
      number                          4     5 9 9
                                                                D  Yes. Fill out Schedule H: Codebtors (Official Form 206H).

      Do multiple creditors have an interest in the             As of the petition filing date, the claim is:
      same property?                                             Check all that apply.
           No                                                    O Contingent
           Yes. Have you already specified the relative            Unliquidated
                priority?                                          Disputed
           O No. Specify each creditor, including this
                     creditor, and its relative priority.


           O Yes. The relative priority of creditors is
                 specified on lines 1st priority

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                   292 500• 00
      Page, if any.


      Official Form 2060                            Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of _4_
                  Case 23-56271-bem                          Doc 1     Filed 07/03/23 Entered 07/03/23 13:04:45                                       Desc
                       6-Sigma Consulting LLC                        Petition Page 15 of 24
  Debtor                                                                                                   Case number (if known)
                    Name




                                                                                                                               Column A                Column B
 Part 1:        Additional Page                                                                                                Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor's name                                           Describe debtor's property that is subject to a lien
      Danowitz PC                                               466 Thackeray Place SW                                          DX6jC1-4
                                                                                                                               $ 124390156".           $ 355,000.00
                                                                 Atlanta GA 30311
     Creditor's mailing address

      P.O.BOX 681506
      Marietta, GA 30068                                       Describe the lien
                                                                 Professional fees
    Creditor's email address, if known                         Is the creditor an insider or related party?
      edanowitz@danowitzlegal.com                                   No
                                                               O Yes


    Date debt was incurred              10/1/2021              lanyone else liable on this claim?
                                                               3 No
    Last 4 digits of account                                   O Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                             4 1        9 9

    Do multiple creditors have an interest in the              As of the petition filing date, the claim is:
    same property?                                             Check all that apply.

    LI No                                                       O Contingent
                                                                  Unliquidated
           Yes. Have you already specified the relative
                priority?                                         Disputed

           O No. Specify each creditor, including this
                 creditor, and its relative priority.




           21   Yes. The relative priority of creditors is
                    specified on lines 4th priority


2._ Creditor's name                                            Describe debtor's property that is subject to a lien

     Edwin & Dianna Maria Felipe Concretes
                                                                    466 Thackeray Place SW
     & Driveway Installations
                                                                                                                               $ 2,500.00              $ 355,000•00
     Creditor's mailing address                                     Atlanta GA 30311

     3681 Lake Dr SE
                                                               Describe the lien
                                                                   mechanics

     Creditor's email address, if known                         Is the creditor an insider or related party?
     edwinbd1993@gl.conn
                 rna                                            •    No
                                                                O Yes
                                         05/15/2019             Is anyone else liable on this claim?
     Date debt was incurred
                                                                •   No
     Last 4 digits of account                                   Li Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number

     Do multiple creditors have an interest in the              As of the petition filing date, the claim is:
     same property?                                             Check all that apply.

     U No                                                       O Contingent
                                                                  Unliquidated
     10 Yes. Have you already specified the relative
             priority?                                            Disputed

            O No. Specify each creditor, including this
                  creditor, and its relative priority.




           •    Yes. The relative priori(.y of creditors is
                    specified on lines Ord priority, 0.C.G.A.       43-41-17
                                           inliriancesrl rzr Anim


  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page   2 of 4
                 Case 23-56271-bem                          Doc 1     Filed 07/03/23 Entered 07/03/23 13:04:45                                      Desc
                                                                    Petition Page 16 of 24
 Debtor               6-Sigma Consulting LLC                                                             Case number of known)
                   Name




                                                                                                                             Column A                Column B
 Part 1:       Additional Page                                                                                               Amount of claim         Value of collateral
                                                                                                                             Do not deduct the value that supports this
                                                                                                                             of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor's name                                          Describe debtor's property that is subject to a lien

         Fulton County Tax Commissioner                         466 Thackeray Place SW
                                                                                                                             $ 6,000.00              $ 355,000.00
    Creditor's mailing address                                  Atlanta GA 30311

         P.O.BOX 105052
         Atlanta, GA 30348-5052                               Describe the lien
                                                                   Tax
    Creditor's email address, if known                        Is the creditor an insider or related party?
                                                              14 No
                                                              •    Yes


    Date debt was incurred             03/07/2019             Is anyone else liable on this claim?
                                                              la No
    Last 4 digits of account
                                      0 1 2 8                 U Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number

    Do multiple creditors have an interest in the             As of the petition filing date, the claim is:
    same property?                                            Check all that apply.

    U No                                                      U Contingent
                                                              •  Unliquidated
    14    Yes. Have you already specified the relative
                                                              IA Disputed
               priority?
          D    No. Specify each creditor, including this
                   creditor, and its relative priority.




          10   Yes. The relative priority of creditors is
                   specified on lines 2nd priority


    Creditor's name                                           Describe debtor's property that is subject to a lien




     Creditor's mailing address




                                                              Describe the lien


    Creditor's email address, if known                         Is the creditor an insider or related party?
                                                               •    No
                                                               U Yes

    Date debt was incurred                                     Is anyone else liable on this claim?
                                                               •   No
    Last 4 digits of account                                   U Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number

    Do multiple creditors have an interest in the              As of the petition filing date, the claim is:
    same property?                                             Check all that apply.

     •    No                                                   U Contingent
                                                               • Unliquidated
          Yes. Have you already specified the relative
               priority?                                       U Disputed
          •    No. Specify each creditor, including this
                    creditor, and its relative priority.




          U Yes. The relative priority of creditors is
                specified on lines



  Official Form 2060                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page   3   of   4
             Case 23-56271-bem                   Doc 1       Filed 07/03/23 Entered 07/03/23 13:04:45                                    Desc
                                                           Petition Page 17 of 24
                      6-Sigma Consulting LLC                                                    Case number (if known)
Debtor
               Name


Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part I. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                               did you enter the           account number
                                                                                                               related creditor?           for this entity
         Rubin Lublin, LLC Attorneys and Counselors at Law
         3145 Avalon Ridge Place, Suite 100
         Peachtree Cornprs, GA 30071                                                                           Line 2.   2                 4      5 9 9

         Ian Falcone, Esq.
         The Falcone Law Firm PC                                                                               Line 2. 1                    2     0        7        4
         363 Lawrence Street


                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.



                                   Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page
                                                                                                                                                       4       of   4
Form 206D
                  Case 23-56271-bem                      Doc 1     Filed 07/03/23 Entered 07/03/23 13:04:45                        Desc
                                                                 Petition Page 18 of 24
   Fill in this information to identify the case:

   Debtor        6-Sigma Consulting LLC
   United States Bankruptcy Court for the: Northern                     District of     Georgia
                                                                                      (State)
   Case number
   (If known)
                                                                                                                                 0 Check if this is an
                                                                                                                                    amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                            12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/13: Assets - Real and Personal Property (Official Form 206AIB) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims

 I. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      •     No. Go to Part 2.
      •     Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                 Total claim     Priority amount

ell   Priority creditor's name and mailing address             As of the petition filing date, the claim is:
                                                               Check all that apply.
                                                               D Contingent
                                                               •  Unliquidated
                                                               O Disputed
      Date or dates debt was incurred                           Basis for the claim:



      Last 4 digits of account                                 Is the claim subject to offset?
      number                                                   O No
                                                               O Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (   )


E Priority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                               Check al/ that apply.
                                                               O Contingent
                                                               • Unliquidated
                                                               O Disputed
      Date or dates debt was incurred                           Basis for the claim:



      Last 4 digits of account                                 Is the claim subject to offset?
      number                                                   O No
                                                               O Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (   )


30        Priority creditor's name and mailing address         As of the petition filing date, the claim is: $
                                                               Check all that apply.
                                                               CI Contingent
                                                               • Unliquidated
                                                               O Disputed
      Date or dates debt was incurred                            Basis for the claim:



      Last 4 digits of account                                 Is the claim subject to offset?
      number                                                   lj No
                                                               D Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (   )




  Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                             page 1 of 2
              Case 23-56271-bem             Doc 1      Filed 07/03/23 Entered 07/03/23 13:04:45                 Desc
                 6-Sigma Consulting LLC              Petition Page 19 of 24
                                                                          Case number (if known)
 Debtor
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                5a.             0.00



5b. Total claims from Part 2                                                                5b.   $          0.00



5c. Total of Parts 1 and 2
                                                                                            5c.
                                                                                                             0.00
   Lines 5a + 5b = 5c.




   Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                             page 2 of 2
              Case 23-56271-bem                   Doc 1     Filed 07/03/23 Entered 07/03/23 13:04:45                                 Desc
                                                          Petition Page 20 of 24

 Fill in this information to identify the case:

 Debtor name       6-Sigma Consulting LLC

 United States Bankruptcy Court for the:      Northern          District of   Georgia
                                                                              (State)

  Case number (If known):                                        Chapter        7


                                                                                                                                   0 Check if this is an
                                                                                                                                      amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

  1. Does the debtor have any executory contracts or unexpired leases?
     44 No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
     U Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
     Form 206A/B).
  2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


          State what the contract or
 2.1 I    lease is for and the nature
          of the debtor's interest

          State the term remaining
          List the contract number of
          any government contract


          State what the contract or
' 2.2 I   lease is for and the nature
      I   of the debtor's interest

          State the term remaining
          List the contract number of
          any government contract


          State what the contract or
' 2.3     lease is for and the nature
'         of the debtor's interest

          State the term remaining
          List the contract number of
          any government contract


          State what the contract or
  2.4
          lease is for and the nature
          of the debtor's interest

          State the term remaining
          List the contract number of
          any government contract


          State what the contract or
  2.5     lease is for and the nature
          of the debtor's interest

          State the term remaining
          List the contract number of
          any government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                          page 1 oil
             Case 23-56271-bem                     Doc 1     Filed 07/03/23 Entered 07/03/23 13:04:45                                     Desc
                                                           Petition Page 21 of 24
 Fill in this information to identify the case:


 Debtor name      6-Sigma Consulting LLC
 United States Bankruptcy Court for the:        Northern           District of     Georgia
                                                                                 (State)
 Case number (If known):



                                                                                                                                       0 Check if this is an
                                                                                                                                           amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
         No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       U Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
     schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

       Column 1: Codebtor                                                                               Column 2: Creditor

                                                                                                                                           Check all schedules
          Name                         Mailing address                                                  Name                               that apply:


 2.1                                                                                                                                           D
                                       Street                                                                                                  E/F
                                                                                                                                               G


                                       City                     State                  ZIP Code


 2.2
                                                                                                                                             D
                                       Street                                                                                              o E/F
                                                                                                                                             G


                                       City                     State                  ZIP Code


 2.3
                                                                                                                                           LID
                                       Street                                                                                                E/F
                                                                                                                                           00


                                       City                     State                  ZIP Code

 2.4
                                       Street                                                                                                  E/F
                                                                                                                                               G


                                       City                     State                  ZIP Code

 2.5
                                                                                                                                             D
                                       Street                                                                                              o E/F
                                                                                                                                             G


                                       City                     State                  ZIP Code

 2.6
                                                                                                                                               D
                                       Street                                                                                                  E/F
                                                                                                                                               G


                                       City                     State                  ZIP Code



Official Form 206H                                             Schedule H: Codebtors                                                          page 1 of
             Case 23-56271-bem                    Doc 1     Filed 07/03/23 Entered 07/03/23 13:04:45                          Desc
                                                          Petition Page 22 of 24

 Fill in this information to identify the case:

 Debtor name   6-Sigma Consulting LLC

 United States Bankruptcy Court for the:          Northern       District of    Georgia
                                                                               (State)
 Case number (If known):


                                                                                                                            0 Check if this is an
                                                                                                                               amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                    12/15




Part 1:     Summary of Assets


1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

   la.   Real property:
                                                                                                                            $ 355,000.00
         Copy line 88 from Schedule NB

   lb. Total personal property:                                                                                                0.00
         Copy line 91A from Schedule NB

   lc. Total of all property:                                                                                               $ 355,000.00
         Copy line 92 from Schedule NB




Part 2:     Summary of Liabilities




2. Schedule D: CreditorsWho Have Claims Secured by Property (Official Form 206D)
                                                                                                                             292 500•00
   Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D
                                                                     ALL CREDITOR CLAIMS = 292,500.00- 59,500.00 =
3. Schedule E/F: CreditorsWho Have Unsecured Claims (Official Form 206E/F)

   3a.Total claim amounts of priority unsecured claims:
      Copy the total claims from Part 1 from line 5a of Schedule E/F
                                                          Claims directly related to property, duplicated Skd D & Skd E/F
   3b.Total am ount of claims of nonpriority am ount of unsecured claims:
      Copy the total of the amount of claims fromPart 2 from line 5b of Schedule E/F




4. Total liabilities                                                                                                        $ 292,500.00
   Lines 2+ 3a+ 3b




 Official Form 206Sum                      Summary of Assets and Liabilities for Non-Individuals                                page 1
             Case 23-56271-bem                    Doc 1       Filed 07/03/23 Entered 07/03/23 13:04:45                                Desc
                                                            Petition Page 23 of 24

 Fill in this information to identify the case and this filing:


 Debtor Name     6-Sigma Consulting LLC
 United States Bankruptcy Court for the:         Northern            District of    Georgia
                                                                                   (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


               Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

               Schedule H: Codebtors (Official Form 206H)

               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

               Amended Schedule


               Chapter 11 or Chapter 9 Cases; List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


               Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on
                           0628/2023                        X rre,derizik kackerjr
                           MM / DD / YYYY                         Signature of individual signing on behalf of debtor



                                                                    Frederick L. Rucker, Jr.
                                                                  Printed name

                                                                  Mgr- 6-Sigma Consulting LLC
                                                                  Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
               Case 23-56271-bem                 Doc 1      Filed 07/03/23 Entered 07/03/23 13:04:45                                Desc
                                                          Petition Page 24 of 24
Case Number:23-56271                            Name: 6-Sigma Chapter: 7                            Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.

El Individual - Series 100 Forms                                                         I:E] Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 CI Complete List of Creditors (names and addresses of all creditors)                    O Last 4 digits of SSN
 CI Pro Se Affidavit (signature must be notarized,                                       O Address
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                     CI Statistical Estimates
 0 Signed Statement of SSN                                                               El Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
CI Statement of Financial Affairs                                                                     Case filed via:
O Schedules: A/BC D El F G HIJJ-2(separate household of Debtor 2)                El Intake Counter by:
O Summary of Assets and Liabilities                                                  1p Attorney
O Declaration About Debtor(s) Schedules                                              0 Debtor ID
E Attorney Disclosure of Compensation                                                 Z Other: Frederick Rucker
CI Petition Preparer's Notice, Declaration and Signature (Form 119)              0 Mailed by:
CI Disclosure of Compensation of Petition Preparer (Form 2800)                      O Attorney
CI Chapter 13 Current Monthly Income                                                CI Debtor
0 Chapter 7 Current Monthly Income                                                  O Other:
O Chapter 11 Current Monthly Income
O Certificate of Credit Counseling (Individuals only)                            CI Email [Pursuant to Amended and Restated
O Pay Advices (Individuals only) (2 Months)                                      General Order 45-2021, this document was
O Chapter 13 Plan, complete with signatures (local form)                         received for filing via email.]
O Corporate Resolution (Non-Individual Ch. 7 & 11)
MISSING DOCUMENTS DUE WITHIN 30 DAYS
                                                                                               History of Case Association
                                                                                 Prior cases within 2 years: q
CI Statement of Intent — Ch.7 (Individuals only)
Ch.11 Business
O 20 Largest Unsecured Creditors                                                 Signature:
O List of Equity Security Holders                                                Acknowledgment bf ceint of De
CI Small Business - Balance Sheet
El Small Business - Statement of Operations
O Small Business - Cash Flow Statement
CI Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      El Paid $
       E Pending Pay.Gov, Paid $
       ▪   IFP filed (Ch.7 Individuals Only)
       ▪   2g-Order Granting        El 3g-Order Granting 10-day (initial payment of $ 78                     due within 10 days)
       ▪   2d-Order Denying with filing fee of $                due within 10 days
       N No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                             Atlanta, Georgia 30303
                                                                 404-215-1000
